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                                  No. 22-9578


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE TENTH CIRCUIT


      MAGNETSAFETY.ORG, HOBBY MANUFACTURERS ASS’N,
        and NATIONAL RETAIL HOBBY STORES ASS’N, INC.
                                                 Petitioners,
                             v.

             CONSUMER PRODUCT SAFETY COMMISSION,
                                               Respondent.


                   On Petition for Review of a Final Rule of
                  the Consumer Product Safety Commission


                  Brief of Amicus Curiae Public Citizen
                        in Support of Respondent


                                           Adina H. Rosenbaum
                                           Allison M. Zieve
                                           Public Citizen Litigation Group
                                           1600 20th Street NW
                                           Washington, DC 20009
                                           (202) 588-1000

                                           Attorneys for Public Citizen

 August 18, 2023
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               CORPORATE DISCLOSURE STATEMENT

       Amicus curiae Public Citizen, Inc. is a nonprofit, non-stock

 corporation. It has no parent corporation, and no publicly traded

 corporation has an ownership interest in it.




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                                  GLOSSARY

 CFPB                           Consumer Financial Protection Bureau

 CPSC                           Consumer Product Safety Commission

 FDIC                           Federal Deposit Insurance Corporation

 FTC                            Federal Trade Commission

 NRDC                           Natural Resources Defense Council

 SEC                            Securities and Exchange Commission




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                     INTEREST OF AMICUS CURIAE1

       Amicus curiae Public Citizen is a nonprofit consumer advocacy

 organization with members in all 50 states. Public Citizen works before

 Congress, administrative agencies, and the courts for enactment and

 enforcement of laws protecting consumers, workers, and the public.

 Public Citizen has a longstanding interest in effective federal safety

 regulation, including regulation of automobiles, drugs, medical devices,

 and, as pertinent here, the consumer products subject to the authority of

 the Consumer Product Safety Commission (CPSC).

       Public Citizen advocated for the establishment of the CPSC in 1972

 and for the enactment of the Consumer Product Safety Improvement Act

 of 2008, which augmented the CPSC’s authority and responsibilities.

 Public Citizen has pressed for the appointment of strong leaders to the

 Commission and for funding from Congress sufficient to support the

 CPSC’s efforts to protect consumers. Public Citizen has also supported

 adoption     of   specific   CPSC   standards,    advocated     for    effective



 1 All parties have consented to the filing of this brief. This brief was not

 authored in whole or in part by counsel for a party. No person or entity
 other than the amicus curiae or its counsel made a monetary contribution
 to the preparation or submission of this brief.
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 implementation of the statutory requirement that the CPSC maintain a

 public database of consumer product safety incidents, and participated

 in litigation seeking to ensure the CPSC’s vigorous performance of its

 statutory duties. See, e.g., Company Doe v. Public Citizen, 749 F.3d 246

 (4th Cir. 2014) (intervening to unseal the record of a case in which a

 company sought to enjoin the CPSC from publishing a report in its online

 database regarding the death of an infant linked to use of the company’s

 product); NRDC v. CPSC, 597 F. Supp. 2d 370 (S.D.N.Y. 2009) (appearing

 as co-plaintiff in litigation challenging the CPSC’s failure to enforce the

 statutory prohibition on sales of children’s products containing

 phthalates).

       Public Citizen has also long been concerned with issues relating to

 separation of powers. Among its other efforts in this area, Public Citizen

 filed amicus briefs in the U.S. Supreme Court in Seila Law LLC v. CFPB,

 140 S. Ct. 2183 (2020), and Morrison v. Olson, 487 U.S. 654 (1988), in

 support of statutes granting executive officers protection against removal

 without cause by the President.

       Public Citizen’s interests in consumer protection and separation of

 powers converge in this case, in which Petitioners contend that


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  restrictions on the President’s power to remove CPSC commissioners

  violate separation-of-powers principles and require vacatur of a CPSC

  rule addressing the hazard associated with the ingestion of high-powered

  magnets, Safety Standard for Magnets, 87 Fed. Reg. 57756 (Sept. 21,

  2022) (Final Rule). Public Citizen is filing this brief to address

  Petitioners’ separation-of-powers argument for vacatur, which is

  contrary to the Supreme Court’s and this Court’s precedent and which, if

  adopted, would eviscerate CPSC safety standards, leaving the public

  exposed to unreasonable risks of injury and death. Public Citizen filed a

  brief as amicus curiae addressing similar arguments in Leachco, Inc. v.

  CPSC, No. 22-7060 (10th Cir. pending).

                          SUMMARY OF ARGUMENT

        The Consumer Product Safety Act allows the President to remove

  CPSC commissioners from office only for neglect of duty or malfeasance

  in office. See 15 U.S.C. § 2053(a). Petitioners argue that these limitations

  on the President’s power to remove CPSC commissioners render the

  CPSC’s structure unconstitutional. The Supreme Court has long held,

  however, that Congress can create multi-member expert agencies whose




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  members are removable only for good cause. The CPSC is precisely such

  an agency.

        Moreover, even when limits on removal of federal officers are

  unconstitutional, they do not render actions taken by the officers

  unlawful unless those actions are causally related to the invalid removal

  restrictions. Here, the President did not seek to remove the CPSC’s

  commissioners, and there is no reason to believe that, if not for the

  removal restrictions, he would have removed the commissioners to

  prevent the Final Rule from being issued. Because there is no nexus

  between the Final Rule and the statutory restrictions on the President’s

  authority    to   remove     CPSC        commissioners,    regardless    of   their

  constitutionality, those restrictions do not provide a basis for vacating

  the Final Rule.

                                    ARGUMENT

  I.    Statutory limitations on the President’s power to remove
        CPSC commissioners do not violate the Constitution.

        Petitioners       contend   that    the   CPSC      is   “unconstitutionally

  structured” because the President can remove its commissioners from

  office only for neglect of duty or malfeasance in office. Pet’rs’ Br. 15. That



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  argument is contrary to binding precedent of both the Supreme Court

  and this Court.

        A.    In Humphrey’s Executor v. United States, 295 U.S. 602 (1935),

  the Supreme Court held that separation-of-powers principles permit

  Congress to confer protection against at-will removal by the President on

  the principal officers of a multi-member commission with regulatory and

  adjudicatory authority—in that case, the Federal Trade Commission

  (FTC). The Supreme Court characterized the powers exercised by the

  FTC as “quasi legislative and quasi judicial,” see id. at 629, although it

  has since recognized that such powers, in our tripartite form of

  government, are executive in nature, see Morrison, 487 U.S. at 689 n.28.

  Humphrey’s Executor holds that “illimitable power of removal is not

  possessed by the President in respect of officers of the character of those”

  of the FTC and other similar agencies, 295 U.S. at 690—that is,

  “administrative bod[ies]” that are charged with performing regulatory

  and adjudicative functions “to carry into effect legislative policies

  embodied in [a] statute in accordance with the legislative standard

  therein prescribed,” id. at 628, and that consist of “nonpartisan” members




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  “called upon to exercise the trained judgment of a body of experts,” id. at

  624.

         The CPSC is precisely such an administrative body. Indeed, its

  structure is virtually identical to that of the FTC as described by the

  Supreme Court in Humphrey’s Executor. The CPSC consists of five

  members, appointed by the President with the advice and consent of the

  Senate to staggered seven-year terms, no more than three of whom may

  be members of the same political party. See 15 U.S.C. § 2053(a), (b), &

  (c); cf. Humphrey’s Executor, 295 U.S. at 620 (describing the same

  attributes of the FTC). Like the FTC, the CSPC is a “body of experts,” id.

  at 624: Its members are “individuals who, by reason of their background

  and expertise in areas related to consumer products and protection of the

  public from risks to safety, are qualified to serve as members of the

  Commission.” 15 U.S.C. § 2053(a). Its powers of rulemaking and

  adjudication, id. §§ 2056, 2058 & 2064, are similar in character to the

  “quasi legislative” and “quasi judicial” powers described in Humphrey’s

  Executor.    And    the   limits   on       presidential   removal     of    CSPC

  commissioners—only for “neglect of duty or malfeasance in office,” id.




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  § 2053(a)—are similar to those at issue in Humphrey’s Executor:

  “inefficiency, neglect of duty, or malfeasance in office.” 295 U.S. at 619.

        B.    Petitioners devote a significant portion of their brief to

  arguing that Humphrey’s Executor was wrongly decided. See Pet’rs’ Br.

  36–53. As Petitioners themselves concede, however, “this Court does not

  have the power to … overrule” Supreme Court precedent. Id. at 38.

        Petitioners also attempt to distinguish Humphrey’s Executor. They

  state that Humphrey’s Executor “assumed that the FTC brought

  enforcement actions only in its own, internal adjudications, not in Article

  III courts,” and “drew a sharp contrast” between “such internal

  enforcement,” which “was not ‘executive power in the constitutional

  sense,’” and “FTC enforcement outside the agency, in Article III courts,”

  which “would be ‘executive power in the constitutional sense.’” Id. at 54

  (quoting Humphrey’s Executor, 295 U.S. at 628). According to Petitioners,

  the restrictions on removing CPSC commissioners are not permitted

  under Humphrey’s Executor because the CPSC “exercises substantial

  executive power in the constitutional sense,” id., including the power to

  file suit in federal court as a means of enforcement, see id. at 55.




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        This Court, however, has squarely rejected the argument that the

  power of a multi-member independent agency “to commence a civil

  enforcement action in federal court” takes it outside Humphrey’s

  Executor’s holding. SEC v. Blinder, Robinson & Co., 855 F.2d 677, 681

  (10th Cir. 1988). Blinder, Robinson held that “Congress can, without

  violating Article II, authorize an independent agency to bring civil law

  enforcement actions where the President’s removal power [is] restricted

  to inefficiency, neglect of duty, or malfeasance in office.” Id. at 682.

  Canvassing the statutory structure authorizing the President to appoint

  SEC commissioners to staggered five-year terms, to designate the

  agency’s chairman, and to remove commissioners for cause—provisions

  closely mirroring those governing the CPSC—this Court in Blinder,

  Robinson concluded that “these powers give the President sufficient

  control over the commissioners to insure the securities laws are faithfully

  executed,” and that “the removal restrictions do not impede the

  President’s ability to perform his constitutional duty.” Id. Accordingly,

  the Court held that “the civil enforcement power given to the SEC is

  constitutionally valid.” Id. That is, the Court held that an agency whose

  members could only be removed by the President for cause could exercise


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  the power to commence a civil enforcement action in federal court—a

  power that Petitioners deem “executive power in the constitutional

  sense”—without violating the Constitution.

        C.    Petitioners do not address or even cite Blinder, Robinson. But

  that decision is a binding precedent of this Circuit, unless and until (i)

  the Supreme Court issues a “superseding contrary decision,” In re Smith,

  10 F.3d 723, 724 (10th Cir. 1993), (ii) this Court reconsiders the issue en

  banc and overrules its precedent, id., or (iii) absent formal en banc

  rehearing, the active members of the Court unanimously authorize the

  panel to overrule a precedential decision, Lincoln v. BNSF Ry., 900 F.3d

  1166, 1185 (10th Cir. 2018).

        None of these circumstances is present here. As to the latter two,

  Blinder, Robinson has not been reconsidered en banc, and the active

  members of the Court have not unanimously authorized its overruling.

  As to the first, a superseding, contrary Supreme Court decision is one

  that “contradicts or invalidates” this Court’s analysis. United States v.

  Brooks, 751 F.3d 1204, 1210 (10th Cir. 2014). Here, rather than

  undermining Blinder, Robinson’s holding, the Supreme Court’s

  subsequent decisions addressing limitations on presidential authority to


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  remove executive officers support Blinder, Robinson’s result, both by

  emphasizing the continuing validity of Humphrey’s Executor and by

  recognizing that Humphrey’s Executor permits limits on the President’s

  authority to remove officers exercising “executive” power.

        To begin with, each of the Supreme Court’s recent decisions on

  limitations on presidential removal authority explicitly states that the

  Court does not question Humphrey’s Executor’s holding. In Free

  Enterprise Fund v. Public Company Accounting Oversight Board, 561

  U.S. 477 (2010), the Court recognized that its precedents establish that

  presidential removal authority over executive officers “is not without

  limit” and that Humphrey’s Executor holds “that Congress can, under

  certain circumstances, create independent agencies run by principal

  officers appointed by the President, whom the President may not remove

  at will but only for good cause.” Id. at 483. The Court emphasized that it

  was not “reexamin[ing]” that precedent.” Id.

        In Seila Law, 140 S. Ct. 2183, the Supreme Court acknowledged

  that Humphrey’s Executor “held that Congress could create expert

  agencies led by a group of principal officers removable by the President

  only for good cause.” Id. at 2192. The Court emphasized, as it had in Free


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  Enterprise Fund, that it “d[id] not revisit Humphrey’s Executor or any

  other precedent.” Id. at 2206.

        Similarly, in Collins v. Yellen, 141 S. Ct. 1761 (2021), the Court

  stated that it had not “revisit[ed] our prior decisions allowing certain

  limitations on the President’s removal power” over the heads of multi-

  member independent agencies, but had only “found compelling reasons

  not to extend those precedents to the novel context of an independent

  agency led by a single Director.” Id. at 1783 (cleaned up). Collins

  explicitly notes that it does not comment on the scope of removal

  authority over the principal officers of “multi-member agencies,” id. at

  1787 n.21, and it nowhere casts doubt on Humphrey’s Executor’s holding.

        Importantly for this case, the Supreme Court’s recent decisions also

  characterize Humphrey’s Executor’s holding as permitting limitations on

  the removal of heads of multi-member commissions that exercise

  “executive” authority as a constitutional matter. Free Enterprise Fund

  begins with an acknowledgment that Humphrey’s Executor announces a

  limit on the President’s authority to remove “executive officers.” 561 U.S.

  at 483. It goes on to describe its precedents, including Humphrey’s




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  Executor, as involving “protected tenure separat[ing] the President from

  an officer exercising executive power.” Id. at 495 (emphasis added).

        Seila Law similarly recognizes that Humphrey’s Executor’s

  endorsement of tenure protection for multi-member, expert agencies is

  an “exception” to the President’s otherwise “unrestricted removal power”

  over “those who wield executive power on his behalf.” 140 S. Ct. at 2191–

  92 (emphasis added). And it explicitly recognizes that the “quasi

  legislative” and “quasi judicial” powers exercised by the FTC at the time

  of Humphrey’s Executor—and exercised today by the CPSC and many

  similar agencies—are forms of executive power. See id. at 2198 n.2.

        In holding that tenure protections for certain executive officers

  violate separation-of-powers principles, the Supreme Court’s recent

  decisions have focused on features of agency structure that the CPSC

  does not possess. Free Enterprise Fund held that members of a multi-

  member agency exercising law enforcement authority may not be

  protected against removal without cause if that limited removal power is

  conferred on another multi-member agency whose members themselves

  are protected against removal by the President without cause. In those

  circumstances, the Supreme Court held, the double layer of removal


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  protection “transforms” the agency’s otherwise permissible independence

  into an infringement on the President’s “ability to execute the laws.” 561

  U.S. at 496. The Court stressed that, in addressing a board with “two

  layers of for-cause tenure,” its “point [was] not to take issue with for-

  cause limitations in general; we do not do that.” Id. at 501. The CPSC

  lacks double insulation from removal and possesses only the form of

  tenure protection with which Free Enterprise Fund did not take issue.

        Similarly, Seila Law and Collins primarily address a structural

  feature the CPSC lacks: the conferral of executive power on an agency

  headed by a single principal officer not subject to unfettered presidential

  removal authority. The Court described that agency structure as an

  “innovation with no foothold in history or tradition” that “is incompatible

  with our constitutional structure.” Seila Law, 140 S. Ct. at 2202; see also

  Collins, 141 S. Ct. at 1783, 1784, 1787. The Court explained in detail how

  this single-member structure departed from the historical practice of

  conferring authority on multi-member independent boards and

  commissions, see Seila Law, 140 S. Ct. at 2201, as well as from the

  structure considered in Humphrey’s Executor, a “non-partisan” “body of

  experts” appointed by the President with “staggered terms,” id. at 2200.


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  The CPSC shares the latter structural features, not the single-director

  structure at issue in Seila Law and Collins.

        Finally, the Supreme Court’s holding in Free Enterprise Fund is

  premised on the constitutional validity of conferring executive authority

  on the SEC, a multi-member commission whose members may not be

  removed by the President without cause. The petitioners in Free

  Enterprise Fund, who challenged the authority of the Public Company

  Accounting     Oversight     Board,   argued     that   separation-of-powers

  principles required that the President have the authority to remove

  members of the Board “either directly or through an ‘alter ego’ removable

  at will.” Pet’rs’ Br. 25, Free Enterprise Fund, No. 08-861 (U.S. filed July

  27, 2009) (emphasis added). The Supreme Court, however, held that the

  separation-of-powers flaw that it identified—two levels of removal

  protection—could be remedied by vesting at-will removal authority in the

  SEC, whose members themselves are “tenured officers” not “subject to

  the President’s direct control.” Free Enterprise Fund, 561 U.S. at 495.

  That holding, in the face of the arguments advanced by the petitioners,

  necessarily presupposed that the exercise of executive authority by the

  tenure-protected SEC was not itself unconstitutional.


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        Thus, the decision in Free Enterprise Fund strongly supports this

  Court’s   conclusion     in   Blinder,    Robinson   that   the    SEC     may

  constitutionally both be subject to limitations on the President’s power to

  remove its members and exercise executive authority. And Blinder,

  Robinson’s holding, in turn, compels the conclusion that the same is true

  of the CPSC.

  II.   Regardless of their constitutionality, the statutory
        limitations on the removal of CPSC commissioners do not
        render the Final Rule invalid.

        Although the statutory limits on the President’s power to remove

  CPSC commissioners are constitutional, this Court does not need to

  address that issue in this case because, regardless of how that issue is

  resolved, it does not provide a basis for vacating the Final Rule. Although

  Petitioners argue that an agency whose heads are subject to

  unconstitutional removal restrictions “cannot wield any powers,” Pet’rs’

  Br. 58, the Supreme Court disagrees. In Collins, 141 S. Ct. at 1787, the

  Supreme Court explained that actions taken by properly appointed

  federal officers are not void because of improper statutory limits on their

  removal. Unlike improperly appointed officers who “lack[] constitutional

  authority,” id., officers subject to invalid tenure protections do not


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  exercise “power that [they] did not lawfully possess,” id. at 1788. Thus,

  “there is no basis for concluding that any [such officer] lacked the

  authority to carry out the functions of the office.” Id. Only if the removal

  restriction had a causal effect on actions taken by the officer, Collins held,

  would there be any basis for granting a remedy aimed at those actions.

  See id. at 1789. The Court posited, for example, that a party might be

  entitled to relief if the President had tried to remove an officer but had

  unconstitutionally been blocked from doing so. See id.

        Justice Thomas, concurring fully in the Court’s opinion, wrote

  separately to underscore his agreement that officers lawfully appointed

  “could   lawfully       exercise   executive   power,”   notwithstanding       an

  unconstitutional removal restriction, and that any remedy in such cases

  “should fit the injury.” Id. at 1789 (Thomas, J., concurring). “The

  Government,” he added, “does not necessarily act unlawfully even if a

  removal restriction is unlawful in the abstract.” Id. Any remedy against

  agency action, Justice Thomas emphasized, depends on a “show[ing] that

  the challenged Government action at issue … was, in fact, unlawful.” Id.

  at 1790. Actions taken by an officer subject to an unconstitutional

  removal restriction are not necessarily unlawful, because such an officer,


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  if properly appointed, may validly “exercis[e] power in the first instance.”

  Id. at 1793. And the resulting actions are not “automatically taint[ed]” by

  the “mere existence of an unconstitutional removal provision” that the

  President could presumably have successfully challenged at any time. Id.

        In an opinion concurring in the judgment and joined in relevant

  part by Justices Breyer and Sotomayor, Justice Kagan likewise agreed

  that officers with unconstitutional tenure protections, “unlike those with

  invalid appointments, possess[] the ‘authority to carry out the functions

  of the office.’” Id. at 1801 (Kagan, J., concurring in part and in the

  judgment) (quoting majority opinion). Accordingly, “plaintiffs alleging a

  removal violation are entitled to injunctive relief—a rewinding of agency

  action—only when the President’s inability to fire an agency head

  affected the complained-of decision,” because “[o]nly then is relief needed

  to restore the plaintiffs to the position they would have occupied in the

  absence of the removal problem.” Id. (cleaned up). Moreover, “[g]ranting

  relief in any other case would, contrary to usual remedial principles, put

  the plaintiffs in a better position than if no constitutional violation had

  occurred.” Id. (cleaned up).




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        Here, regardless of whether the restrictions on the removal of CPSC

  commissioners are constitutional, the commissioners who promulgated

  the Final Rule “were properly appointed.” Id. at 1787 (majority opinion).

  Accordingly, “there is no reason to regard any of the actions taken by

  [them] in relation to the [Final Rule] as void.” Id. The President did not

  “attempt[] to remove” the CPSC’s commissioners but find himself

  “prevented from doing so.” Id. at 1789. Nor did he “ma[ke] a public

  statement     expressing    displeasure   with   actions    taken     by”     the

  commissioners and assert “that he would remove [them] if the statute did

  not stand in the way.” Id. And there is no other reason to believe that the

  “President’s inability to fire [CPSC commissioners] affected the

  complained-of decision.” Id. at 1801 (Kagan, J., concurring in part and in

  the judgment).

        Notably, although Petitioners cite Collins in arguing that the

  CPSC’s structure is unconstitutional, they do not acknowledge Collins’s

  ruling as to relief or its explanation that unconstitutional removal

  limitations do not deprive properly appointed officers of “the authority to

  carry out the functions of the office.” Id. at 1788 (majority opinion).

  Likewise, they do not cite Integrity Advance, LLC, 48 F.4th 1161, 1170


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  (10th Cir. 2022), in which this Court applied Collins in rejecting the

  argument that actions taken by an agency whose director was subject to

  unconstitutional removal restrictions must be set aside.

        In short, even if the statutory restrictions on the President’s

  authority to remove CPSC commissioners violated separation-of-powers

  principles, that violation would not render the CPSC’s promulgation of

  the Final Rule unlawful absent a nexus between the action and the

  removal restrictions. See id. at 1170 (rejecting argument that an agency

  enforcement proceeding should be set aside based on unconstitutional

  restrictions on the President’s authority to remove the agency’s director

  where the subject of the enforcement proceeding did not point to any

  compensable harm from the removal restrictions); see also, e.g., CFPB v.

  Law Offices of Crystal Moroney, P.C., 63 F.4th 174, 180 (2d Cir. 2023)

  (rejecting argument that civil investigative demand for documents was

  void due to unconstitutional removal provision where party challenging

  the demand could not show that the agency would not have issued the

  demand but for the removal provision), pet. for cert. on other grounds

  pending, No. 22-1233 (U.S. filed June 21, 2023); Cmty. Fin. Servs. Ass’n

  of Am. v. CFPB, 51 F.4th 616, 633 (5th Cir. 2022) (rejecting argument


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  that rule should be invalidated due to unconstitutional removal provision

  where the record did not demonstrate that, but for the provision, the

  President would have removed the agency’s director and the agency

  “would have acted differently as to the rule”), pet. for cert. granted on

  other grounds, No. 22-448, 143 S. Ct. 978 (2023), pet. for cert. denied as

  to relevant question, No. 22-663, 143 S. Ct. 981 (2023); Calcutt v. FDIC,

  37 F.4th 293, 316 (6th Cir. 2022) (rejecting argument that agency

  proceeding should be invalidated based on allegedly unconstitutional

  removal restrictions where plaintiff did not demonstrate that the

  removal restrictions caused him harm), pet. for cert. granted on other

  grounds, judgment rev’d, and case remanded, 143 S. Ct. 1317 (2023);

  Kaufmann v. Kijakazi, 32 F.4th 843, 849–50 (9th Cir. 2022) (rejecting

  challenge to Social Security benefits decision based on limitations on

  removing Commissioner of Social Security where there was no link

  between the claimant’s case and the removal provision). There is no

  nexus here between the restrictions on the President’s authority to

  remove CPSC commissioners and the CPSC’s promulgation of the Final

  Rule, and the removal restrictions provide no basis for vacating that rule.




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                                CONCLUSION

        The Court should deny the petition for review.

                                            Respectfully submitted,

                                            /s/ Adina H. Rosenbaum
                                            Adina H. Rosenbaum
                                            Allison M. Zieve
                                            Public Citizen Litigation Group
                                            1600 20th Street NW
                                            Washington, DC 20009
                                            (202) 588-1000

                                            Attorneys for Public Citizen

  August 18, 2023




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                     CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Federal

  Rules of Appellate Procedure 29(a)(5) and 32(a)(7)(B)(i) because,

  excluding those parts permitted to be excluded under Federal Rule of

  Appellate Procedure 32(f), it contains 3,859 words.

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                                            /s/ Adina H. Rosenbaum
                                            Adina H. Rosenbaum




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                          CERTIFICATE OF SERVICE

        I hereby certify that, on August 18, 2023, I electronically filed the

  foregoing brief using the Court’s CM/ECF system, which will send

  notification of such filing to counsel of record for all parties.

                                             /s/ Adina H. Rosenbaum
                                             Adina H. Rosenbaum




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